USCA4 Appeal: 23-1059   Doc: 43    Filed: 03/14/2023   Pg: 1 of 2




                                                              FILED: March 14, 2023


                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT

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                                       No. 23-1059
                                     (10-CC-276241)
                                     (10-CE-271046)
                                     (10-CE-271053)
                                     (10-CC-276207)
                                     (10-CE-276221)
                                     (10-CC-276208)
                                     (10-CE-271047)
                                     (10-CE-271052)
                                     (10-CE-276185)
                                  ___________________

        SOUTH CAROLINA STATE PORTS AUTHORITY

                    Petitioner

        THE STATE OF SOUTH CAROLINA; UNITED STATES MARITIME
        ALLIANCE, LTD.

                    Intervenors

        v.

        NATIONAL LABOR RELATIONS BOARD

                    Respondent

        INTERNATIONAL LONGSHOREMEN'S ASSOCIATION, LOCAL 1422;
        INTERNATIONAL LONGSHOREMEN'S ASSOCIATION

                    Intervenors
USCA4 Appeal: 23-1059    Doc: 43       Filed: 03/14/2023     Pg: 2 of 2


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                                          ORDER
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              Upon consideration of the motion of Intervenors International
        Longshoremen’s Association and International Longshoremen’s Association, Local
        1422 to file separate briefs, the court grants the motion and amends the briefing
        schedule as follows:

              March 17, 2023 – Agency record due.

              March 31, 2023 – Petitioners’ brief due, requiring a single brief of 16,000
              words.

              April 28, 2023 – Respondents’ brief due, requiring a brief of 13,000 words;
              Intervenors International Longshoremen’s Association and International
              Longshoremen’s Association, Local 1422’s brief due, requiring a single brief
              of 13,000 words.

              May 12, 2023 – USMX’s brief due, requiring a single brief of 13,000 words.

              May 26, 2023 – Petitioners’ reply brief and responses to USMX’s brief due,
              requiring briefs of 6,500 words.


                                             For the Court

                                             /s/ Patricia S. Connor, Clerk
